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May 4. 2023

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Re: Request for evaluations of Plaintiffs with Dr. Butz under Fed. R. Civ. Pro. 35
Caekaert & Mapley v. Watchtower Bible and Tract Society of New York, Inc., et al.
Rowland & Schulze v. Watchtower Bible and Tract Society of New York, Inc., et al.

Dear Brett,

Thank you for your April 26, 2023 letter regarding the Defendants’ Rule 35 examination of our
clients. Prior to the commencement of the proposed exams, Plaintiffs would like to memorialize
agreements regarding the time, place, manner, conditions, and scope of the examinations.

Recordation:

It looks like we agree that audio recordation will occur during portions of the exams. Dr. Butz
says he will record portions of the exams that do not violate copyright laws or test security. We
understand that means the interview portion of the exams (social history and mental status) will
be recorded, and the testing portion of the exams will not be recorded. Please confirm.

Timing and Scope: |

As to the manner, conditions, and scope of the examination, we would like further clarification
on how long Dr. Butz anticipates for each part of the examinations, and whether he is planning to
complete each exam in one day. We believe it is important to ensure our clients are adequately
rested prior to the testing portion of the exams. For example, Dr. Holmberg conducted the
interview/history portion of the IME on one day, and then to give the clients adequate time to be

EXHIBIT

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mentally refreshed, the testing portion was conducted another day. Depending on how long Dr.
Butz anticipates the interview portions taking, we may need to request that the testing portion
take place the next day. Additionally, we would like to know how long Dr. Butz anticipates the
actual testing portion will last.

Further, because our clients have been thoroughly questioned about all prior instances of sexual
assault and sexual abuse, we don’t think it is necessary or appropriate to make our clients retread
the details of that history. Therefore, we would propose that Dr. Butz rely on the Plaintiffs’
discovery answers and deposition testimony regarding past sexual assaults and sexual abuse
without forcing them to retread every detail of that history again. We certainly understand that
Dr. Butz may want to ask follow-up questions about their previous testimony. We would just
like an agreement that he will not ask them to walk through every instance of abuse again
because it is highly traumatizing and unnecessary at this point. Please let us know Dr. Butz’s
thoughts on this issue.

Accommodations:

We appreciate Dr. Butz’s willingness to accommodate our clients with breaks. We are happy to
provide further clarification on how Dr. Holmberg accommodated our clients during their exams.
Mrs. Schulze required the most accommodations. Her therapist was in the room while the
interview and social history portions were conducted. Mrs. Schulze was frequently
disassociating, and her therapist was there to identify when it was happening and to request a
break for Mrs. Schulze, or assist in grounding her to make sure she stayed psychologically
present for the interview. That said, so long as adequate breaks are provided, we are not
requesting that Mrs. Schulze’s therapist be present in the room during Dr. Butz’s exam.

The rest of the clients were given breaks about every 30-45 minutes, or as needed, during Dr.
Holmberg’s exams. So long as the interview portions of Dr. Butz’s exams do not include an
exhaustive retreading of each and every incident of sexual abuse, and will not be excessively
long, a break every 45 minutes (or as otherwise needed by the particular Plaintiff) will be
satisfactory.

Location of Mrs. Caekaert’s IME:

As far as the location of Mrs. Caekaert’s exam goes, we do not know when she will be healthy
enough to travel. While we are hopeful with time and treatment she will improve, it is hard to
know when and if she will be cleared to travel. If she is healthy enough and cleared for travel by
her doctors prior to the discovery deadline, we will get her here for the exam. If not, we will
need to look into having Dr. Butz travel to her, or doing her exam remotely as Dr. Holmberg did.

Ms. Mapley’s IME:

It appears we have a disagreement regarding the burden and justification of requiring Ms.
Mapley to travel to Montana for her exam. While we understand that it is Dr. Butz’s preference
to conduct the IME in person, we do not think that it justifies the burden it would create. Dr.
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Holmberg was able to set up a proctored and secured environment for all portions of his exam,
including the testing; we feel that the same is attainable here.

We appreciate your willingness to send Dr. Butz to Australia and that will be preferable to
having Ms. Mapley travel to Montana. If we are unable to reach an agreement on this matter,
and the Court orders that Ms. Mapley’s IME must be conducted in person, we will arrange for
Dr. Butz to go to Australia.

Next Steps:

Once we hear back from you and Dr. Butz regarding our questions above, we would like to
memorialize all areas of agreement, and any areas of disagreement that will need to be resolved
by the Court, for each of the Plaintiffs’ exams.

When we last spoke with Ariane Rowland, she was available for her exam on June 2" in
Billings. However, prior to finalizing that exam date, we need to memorialize our agreement as
described above.

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